                 Case 1:22-cr-00122-NODJ-BAM Document 17 Filed 04/27/22 Page
AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release
                                                                              1 of 3 3
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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.   1:22-mj-00052 BAM
JAWANA JINNAE NICOLE WASHINGTON                                           )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                               United States District Courthouse
                                                                                         Place
                                                                2500 Tulare Street, Fresno CA 93721

      on                     May 6, 2022, at 2:00PM via ZOOM before Magistrate Judge Sheila K. Oberto
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.



                                   Please release to Maisha Shani Allen
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AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions of Release (General)                                                    Page Wof    WPages
WASHINGTON, Jawana Jinnae Nicole
Doc. No. 1:22-MJ-00052-BAM-1
                            ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 0     (6)       The defendant is placed in the custody of:

                   Name of person or organization             Maisha Shani Allen

         who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
         defendant at all scheduled c�proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
         release or disappears.

                   SIGNED:_-
                           ;__-,.,..::,=<--------­

                              I
                                         CUSTODIAN
 0      (7)      The defendant must:
        0        (a) report on a regular basis to the following agency:
                     Pretrial Services and comply with their rules and regulations;
        0        (b) report as directed to the Pretrial Services Agency on the first working day following your
                     release from custody;
        0        (c) reside at a location approved by the pretrial services officer, and not move or be absent from
                     this residence for more than 24 hrs. without prior approval of pretrial services officer;
        0        (d) travel restricted to the Eastern District of California unless otherwise approved in advance by
                     pretrial services officer;
        0        (e) report any contact with law enforcement to your pretrial services officer within 24 hours;
        0        (f) cooperate in the collection of a DNA sample;
        0        (g) not possess, have in your residence, or have access to a firearm/ammunition, destructive
                     device, or other dangerous weapon; additionally, you must provide written proof of divestment
                     of all firearms/ammunition, currently under your control;
        0        (h) surrender your passport to the Clerk, United States District Court, and you must not apply for
                     or obtain a passport or any other travel documents during the pendency of this case;
        0        (i) not associate or have any contact with your co-defendant unless in the presence of counsel or
                     otherwise approved in advance by the PSO;
        0        (j) submit to drug and/or alcohol testing as approved by the Pretrial Services Officer. You must
                     pay all or part of the costs of the testing services based upon your ability to pay, as determined
                     by the Pretrial Services Officer;
        0        (k) refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance
                     without a prescription by a licensed medical practitioner; and you must notify Pretrial Services
                     immediately of any prescribed medication(s). However, medical marijuana, prescribed and/or
                     recommended, may not be used;
        0        (1) participate in a program of medical or psychiatric treatment including treatment for drug or
                     alcohol dependency, as approved by the PSO; you must pay all or part of the costs of the
                     counseling services based upon your ability to pay, as determined by the PSO; and,
        0        (m) report any prescriptions provided by a licensed medical practitioner to the PSO within 48 hours
                     of receipt.
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X



    4/26/2022

                                     Sheila K. Oberto, U.S. Magistrate Judge
